
ORDER
PER CURIAM
AND NOW, this 24th day of May, 2017, the order of December 29, 2016 is amended to provide as follows:
The Petition for Alowance of Appeal is GRANTED to consider the following issue, as originally framed in the Petition for Alowance of Appeal:
By affirming its Opinion in Hopkins v. Erie Insurance Co., 65 A.3d 452 (Pa. Super. 2013), and ruling that:
(1) a claimant seeking uninsured or underinsured motorist benefits must file a Complaint or a Petition to Compel Abitration if the claim does not resolve within four years of the date of the underlying accident, and,
(2) a claimant must file a Complaint or Petition to Compel Abitration, contrary to the plain language of the Abitration Act of 1927, 42 Pa.C.S. § 7304(a), which requires a claimant to file a Complaint or- Petition only when “an opposing party refuse[s] to arbitrate,”
did the Superior Court' create a new rule that is contrary to prior decisions of this Court and inconsistent with the plain language of the Abitration Act?
This Court understands this issue to encompass a determination of the time at which a cause of action accrues—thereby triggering the commencement of the statutory period for bringing a claim—in the specific context of an insurance contract containing a mandatory arbitration provi*124sion. Notably, this particular issue has not been waived, was advanced in the Petition for Allowance of Appeal, and has been briefed by both parties, without objection. As such, no further briefing is necessary.
Chief Justice Saylor files a concurring statement in which Justices Baer, Todd, Donohue, Dougherty and Mundy join.
Justice Wecht files a dissenting statement.
